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Figure 10: The front landing gear assembly was modeled in CAD according to measurements taken from Grace McGuire's
Electra Model 10.

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Figure 11: The front landing gear assembly model was overlaid on a photo of a crashed Electra Model 10 airplane. Photo
from http://tighar.org/Publications/TTracks/2013Vol_29/February_2013/The_Object_Formerly_Known_As_Nessie.pdf.

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Figure 12: Historical photograph of Amelia Earhart in front of her Electra Model 10E aircraft. The right front landing gear
assembly CAD model was overlaid on the image, demonstrating congruence.

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Figure 13: A closer view of the fit of the front landing gear assembly CAD model on a photograph of Amelia Earhart's aircraft.

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Figure 14: Historical photograph of Amelia Earhart in front of her Electra Model 10E aircraft. The left front landing gear
assembly CAD model was overlaid on the image, demonstrating congruence.

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Figure 15: A closer view of the fit of the front landing gear assembly CAD model on a photograph of Amelia Earhart's aircraft.

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Figure 16: A composite image of the proposed front landing gear with the wire in the same view from the 2010 1920x1080
rover video, created by Fatih Calakli; 43743.png.

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Figure 17: A composite image of the proposed front landing gear from the 2010 rover video (1920x1080), provided by Fatih
Calakli with a 3d model of the Electra Model 10E front landing fork assembly superimposed on the image. Given the size of
the fork assembly in the 3D model, the wire has an average diameter of approximately 0.78" with a standard deviation of
0.05".

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Figure 18: A composite image of the proposed front landing gear from the 2010 rover video (1920x1080), provided by Fatih
Calakli with a 3d model of the Electra Model 10E front landing fork assembly superimposed on the image.

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Figure 19: A closeup from the same video still of the 2010 rover video as in Figure 16 illustrates additional features on the sea
floor which are consistent with components from the Electra Model 10 aircraft. Red arrows and blue arrows point to
corresponding parts in the bracket of the Electra Model 10.

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Figure 20: 3D image of the front landing gear strut overlaid on the proposed front landing gear in the 2010 1920x1080 rover
video.

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